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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                ALEXANDRIA DIVISION


TUE DINH TRUONG #A061-387-633,                    CIVIL DOCKET NO. 1:24-CV-00397 SEC
                                                                                   P
VERSUS                                                            JUDGE EDWARDS

U S IMMIGRATION & CUSTOMS                        MAGISTRATE JUDGE PEREZ-MONTES
ENFORCEMENT


                                         JUDGMENT
       For the reasons stated in the Report and Recommendation of the Magistrate Judge

previously filed herein (ECF No. 5), noting the absence of objection thereto, and concurring with

the Magistrate Judge’s findings under the applicable law;

       IT IS ORDERED that the Petition for Writ of Habeas Corpus under 28 U.S.C. § 2241

(ECF No. 1) is DISMISSED WITHOUT PREJUDICE.

       THUS DONE AND SIGNED in Chambers on this 24th day of June, 2024.




                                                        JERRY EDWARDS, JR.
                                                   UNITED STATES DISTRICT JUDGE
